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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  UNITED STATES OF AMERICA,

 v.          CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANUEVA, et al.

                                     /


                                          ORDER


         This cause is before the Court on:

         Dkt. 969     Defendant Green’s Supplemental Notice and Disclosure of Expert
                      Witness (Jerry W. Green, Jr.)
         Dkt. 976     Motion for Daubert Hearing (United States)
         Dkt. 1045    Report and Recommendation

         The assigned Magistrate Judge has entered a Report and Recommendation in
 which it is recommended that the Court permit the expert testimony of Charis Kubrin,
 Ph.D., Defendant Jerry W. Green, Jr.’s expert witness on rap music, limited to the
 opinions set forth in Defendant Green’s Supplemental Notice, and subject to Defendant
 Green providing the Government a statement of the bases and reasons for Dr. Kubrin’s
 opinions within five days of the Court’s Order. A hearing was conducted on July 21,
 2016.


         The 941 Pool Party video (Trial Exhibits 1302, 1302a) has been admitted into
 evidence. In the Report and Recommendation, the assigned Magistrate Judge notes
 that, at the Daubert hearing, the arguments of defense counsel offered little insight into
 the witness’s opinions, if any, specific to the Pool Party video and no insight into the
 witness’s methodology and/or bases for her conclusions.


         No objections to the Report and Recommendation have been filed. The Court
 has independently examined the pleadings and the record. After consideration, the
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 Court adopts and incorporates the Report and Recommendation. Accordingly, it is


        ORDERED that the Report and Recommendation (Dkt. 1045) is adopted and
 incorporated. Defendant Jerry W. Green, Jr. shall provide a concise statement of
 the bases and reasons for Dr. Kubrin’s opinions within five days of the Court’s Order.
      The Supplemental Disclosure will be subject to further rulings on relevance. The
 Court will permit Dr. Kubrin to testify as Defendant Jerry’s W. Green, Jr.’s expert
 witness, but limit Dr. Kubrin’s testimony to the opinions in the Supplemental Notice
 (Dkt. 969).   The Government’s Motion for Daubert Hearing (Dkt. 976) is denied
 without prejudice.


        DONE and ORDERED in Chambers in Tampa, Florida on this - 7 - day of
 August, 2016.




 All parties and counsel of record




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